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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT Co                                                SEP 16 2016
                                             SOUTHERN DISTRICT OF CALIFORNIA                            CLERI<, u.s DISTRiCT COURT

              UNITED STATES OF AMERICA
                                                                                     SOUTHERN DISTRiCT OF C~IFORNJA
                                                                      JUDGMENT IN A C.     AI. CASEr~~~I.:rX
                                                                                                                                     I
                                   V.                                 (For Offenses Committed On or After November 1, 1987)
      CHRISTOPHER EUGENE CARTWRIGHT ( 7)
                                                                         Case Number:         15CR2721-BEN

                                                                      Victor Manuel Torres
                                                                      Defendant's Attorney
REGISTRATION NO.                   51405298


~     pleaded guilty to count(s)          1 of the Indictment
                                         ~~~~~~~-------------------------------------
    was found gUilty on count(s)
    after a plea ofnot guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                         Nature of Offense                                                             Number(s)
21 USC 841(a)(1) and 846                Conspiracy to distribute methamphetamine                                         1




    The defendant is sentenced as provided in pages 2 through                    4           of this judgment.
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                      is          dismissed on the motion of the United States.
                 ---------------------------
cgj    Assessment: $100.00 imposed



 IZI No fine                   o
                              Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




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                                                    IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Fifty-seven (57) months




 o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI     The court makes the follo'Wing recommendations to the Bureau of Prisons:

                1. Residential Drug Abuse Program (RDAP)
                2. Incarceration in the Western Region of the United States


 o       The defendant is remanded to the custody ofthe United States Marshal.

 o       The defendant shall surrender to the United States Marshal for this district:
         D at _ _ _ _ _ _ _ _ A.M.                          on
          D      as notified by the United States Marshal.
                                                                    -----------------------------------
         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
         Prisons:
          [gJ    on or before October 24, 2016 before 12:00 PM
          o      as notified by the United States Marshal.
          o      as notified by the Probation or Pretrial Services Office.

                                                          RETURN
 I have executed this judgment as follows:

         Defendant delivered on
                                  ___________________________ to


 at _ _~_ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                        By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       lSCR2721-BEN
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           '""
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised relea5e for a term of:
Five (5) years


     The defendant shan report to the probation office in the district to which the defendant is released within 12 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
o       substance abuse. (Check. if applicable.)
        The defendant shall not possess a frreann, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
        resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic vi01ence. (Check if applicable.)

           If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement ofthe tenn of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
      1)  the defendant shall not leave the judicial district without the pennission oftile court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or hcr dependents and meet other family responsibilities;
      5)  the defendant shaU work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance,
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do SO by the probation officer;
      10) the defendant shall permit a probation officer to visit him or ber at any time at home or elsewhere and shall pennit confIscation of any contrabar
          observed in plain view of the probation officer;
      11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

    1. Submit person, property, residence. office or vehicle to a search, conducted by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches
       pursuant to this condition.

   2. Report vehicles o\\-ned or operated, or in which you have an interest~ to the probation officer.

   3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of infonnation between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   4. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.




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